     Case 18-05677-dd                     Doc 7       Filed 11/08/18 Entered 11/09/18 00:37:52                                     Desc Imaged
                                                     Certificate of Notice Page 1 of 3
Information to identify the case:
Debtor 1                 Leon Davis                                                             Social Security number or ITIN    xxx−xx−5158

                         First Name   Middle Name   Last Name                                   EIN     _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        District of South Carolina
                                                                                                Date case filed for chapter 13 11/5/18
Case number:          18−05677−dd



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                                About Debtor 2:
1. Debtor's full name                         Leon Davis

2. All other names used in the
   last 8 years
                                              96 Tad Rd.
3. Address                                    Andrews, SC 29510
                                              John C Waites                                                 Contact phone 843−744−3002
                                              Moss & Associates Attorneys P.A.
4. Debtor's  attorney
   Name and address
                                              2170 Ashley Phosphate Rd.                                     Email Christian@mossattorneys.com
                                              Ste 405
                                              North Charleston, SC 29406

5. Bankruptcy trustee                         James M. Wyman                                                 Contact phone (843) 388−9844
     Name and address                         PO Box 997                                                     Email 13info@charleston13.com
                                              Mount Pleasant, SC 29465−0997

6. Bankruptcy clerk's office                                                                                 Hours open 9:00 am − 5:00 pm
     Documents in this case may be filed      J. Bratton Davis United States                                 Contact phone 803−765−5436
     at this address.                         Bankruptcy Courthouse                                          Date: 11/6/18
     You may inspect all records filed in     1100 Laurel Street
     this case at this office or online at    Columbia, SC 29201−2423
      www.pacer.gov.

7. Meeting of creditors
    Debtors must attend the meeting to December 19, 2018 at 09:30 AM                                      Location:
    be questioned under oath. In a joint The meeting may be continued or adjourned to a later             King and Queen Building, 145 King Street,
    case, both spouses must attend.      date. If so, the date will be on the court docket. *** Valid     Room 225, Charleston, SC 29401
    Creditors may attend, but are not    photo identification required ***
    required to do so.
                                                                                                                  For more information, see page 2

Official Form 309I                                     Notice of Chapter 13 Bankruptcy Case                                               page 1
    Case 18-05677-dd                      Doc 7      Filed 11/08/18 Entered 11/09/18 00:37:52                                          Desc Imaged
                                                    Certificate of Notice Page 2 of 3
Debtor Leon Davis                                                                                                                   Case number 18−05677−dd

8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 2/19/19
   The bankruptcy clerk's office must      dischargeability of certain debts: You must file:
   receive these documents and any         •   a motion if you assert that the debtors are
   required filing fee by the following        not entitled to receive a discharge under
   deadlines.                                  U.S.C. § 1328(f) or
                                           •   a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim (except              Filing deadline: 1/14/19
                                           governmental units):
                                           Deadline for governmental units to file a proof of claim:                Filing deadline: 5/6/19


                                           Deadlines for filing proof of claim:
                                            A Proof of Claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                           www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                           not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                           that the debtor filed.

                                           Secured creditors retains rights in its collateral regardless of whether that creditor files a Proof of Claim.

                                           Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a
                                           lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
                                           nonmonetary rights, including the right to a jury trial.

                                           You may electronically file claims at http://www.scb.uscourts.gov/electronic−filing−claims.


                                           Deadline to object to exemptions:                                        Filing deadline:     30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Hearing on Confirmation                The confirmation hearing will be held on:
                                          1/23/19 at 02:00 PM , Location: King and Queen Building, 145 King Street, Room 225, Charleston, SC
                                          29401. A copy of the plan will be sent separately by the debtor. This hearing may be continued or rescheduled
                                          as necessary and due notice will be given.

                                          Any objection to confirmation of the chapter 13 plan must be filed and served at least seven days prior to the
                                          confirmation hearing. Objections to the confirmation may be overruled if the objecting creditor fails to appear
                                          and prosecute the objection. If no objection is timely filed, the plan may be confirmed on recommendation of the
                                          trustee. The debtor(s) is/are required to appear at the confirmation hearings unless excused by order of the
                                          Court or Chambers Guidelines.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have any
                                           questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan will be sent to you later and the confirmation
                                           hearing will be held on the date shown in line 9 of this notice. The debtor will remain in possession of the
                                           property and may continue to operate the business, if any, unless the court orders otherwise.
12. Exempt property                       The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                          to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                          You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the law
                                          does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                    Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                          However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                          are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                          as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                          523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If
                                          you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                          must file a motion by the deadline. The bankruptcy clerk's office must receive the objection by the deadline to
                                          object to exemptions in line 8.
14. Dismissal Notice                      This case may be converted or dismissed at the confirmation hearing for a failure to: file a confirmable chapter
                                          13 plan, pay the applicable filing fee, file or provide documents, attend the meeting of creditors, or timely make
                                          payments due under a chapter 13 plan as required by the Bankruptcy Code, the Federal Rules of Bankruptcy
                                          Procedure or the Local Rules of this Court, or the applicable judge's Chambers Guidelines.
15. Miscellaneous Notice                  The Voice Case Information System (VCIS) will give status information on cases filed or converted after
                                          11/30/88. Call 1−866−222−8029. Please refer to the Court's web site at www.scb.uscourts.gov for further
                                          information.
16. Options to Receive Notices            (1) Anyone can register for the Electronic Bankruptcy Noticing program at bankruptcynotices.uscourts.gov OR
    Served by the Clerk by                (2) Debtors can register for DeBN by filing local form 'Debtor's Electronic Noticing Request (DeBN)' with the
                                          Clerk of Court. Both options are FREE and allow the clerk to quickly send you court−issued notices and orders
    Email Instead of by U.S.              by email. See Local Rule 9036−1.
    Mail




Official Form 309I                                    Notice of Chapter 13 Bankruptcy Case                                                     page 2
        Case 18-05677-dd              Doc 7      Filed 11/08/18 Entered 11/09/18 00:37:52                          Desc Imaged
                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                                District of South Carolina
In re:                                                                                                     Case No. 18-05677-dd
Leon Davis                                                                                                 Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0420-2                  User: weathers                     Page 1 of 1                          Date Rcvd: Nov 06, 2018
                                      Form ID: b309i                     Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 08, 2018.
db             +Leon Davis,   96 Tad Rd.,    Andrews, SC 29510-5655
543528438      +ATTORNEY GENERAL OF UNITED STATES,    950 PENNSYLVANIA AVENUE, NW,     Washington DC 20530-0009
543528439      +AUTO MONEY INC. OF KINSTREE,    301 W. MAIN ST,    Kingstree SC 29556-3234
543528440      +BLAZE MASTERCARD/FIRST SAVINGS BANK,     POB 2534,    Omaha NE 68103-2534
543528441      +CAPITAL ONE,   POB 71087,    Charlotte NC 28272-1087
543528442      +EXCHANGE COLLECTION DEPT,    POB 660056,    Dallas TX 75266-0056
543528444      +FARMER TELEPHONE/ONLINE INFORMATION SERV,     POB 1489,    Winterville NC 28590-1489
543528445      +FIRST NATIONAL CREDIT CARD,    POB 2496,    Omaha NE 68103-2496
543528448      +MIDLAND FUNDING LLC/CLARKSON & HALE LLC,     POB 287,    Andrews SC 29510-0287
543528449      +MOSS & ASSOCIATES,   2170 ASHLEY PHOSPHATE ROAD,      FIRST CITIZENS BUILDING, SUITE 405,
                 Charleston SC 29406-4178
543528452      +US ATTORNEY GENERAL,   ATTN DOUG BARNETT,     1441 MAIN ST,    SUITE 500,   Columbia SC 29201-2862
543528453      +WILLIAMSBURG COUNTY TREASURER,    125 WEST MAIN STREET,     Kingstree SC 29556-3343

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: Christian@mossattorneys.com Nov 06 2018 21:55:46        John C Waites,
                 Moss & Associates Attorneys P.A.,    2170 Ashley Phosphate Rd.,     Ste 405,
                 North Charleston, SC 29406
tr              E-mail/Text: nobles@charleston13.com Nov 06 2018 21:55:52       James M. Wyman,     PO Box 997,
                 Mount Pleasant, SC 29465-0997
ust            +E-mail/Text: ustpregion04.co.ecf@usdoj.gov Nov 06 2018 21:55:57        US Trustee’s Office,
                 Strom Thurmond Federal Building,   1835 Assembly Street,     Suite 953,
                 Columbia, SC 29201-2448
intp            E-mail/Text: sheree_phipps@scb.uscourts.gov Nov 06 2018 21:56:10        US Bankruptcy Court,
                 Attn: Systems,   1100 Laurel Street,    Columbia, SC 29201-2423
543528443      +E-mail/Text: corporatecredit@farmersfurniture.com Nov 06 2018 21:55:58
                 FARMER HOME FURNITURE,   548 BELLS HWY,    Walterboro SC 29488-5736
543528446      +EDI: IRS.COM Nov 07 2018 02:53:00      IRS,   PO BOX 7346,    Philadelphia PA 19101-7346
543528447      +EDI: RMSC.COM Nov 07 2018 02:53:00      LOWES CREDIT,    POB 530914,    Atlanta GA 30353-0914
543529131      +EDI: PRA.COM Nov 07 2018 02:53:00      PRA Receivables Management, LLC,     PO Box 41021,
                 Norfolk, VA 23541-1021
543528450      +EDI: DRIV.COM Nov 07 2018 02:53:00      SANTANDER,    PO BOX 105255,    Atlanta GA 30348-5255
543528451      +E-mail/Text: bankruptcy@sctax.org Nov 06 2018 21:56:09       SC DEPT OF REVENUE,     PO BOX 12265,
                 Columbia SC 29211-2265
                                                                                               TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA Receivables Management, LLC,   PO Box 41021,   Norfolk, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 08, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 6, 2018 at the address(es) listed below:
              James M. Wyman   13info@charleston13.com,
               wyman@charleston13.com;lamontagne@charleston13.com;renno@charleston13.com;d_nobles@bellsouth.net;
               milligan@charleston13.com;nobles@charleston13.com;jameswymanlaw@gmail.com;charleston13info@gmail.
               com
              John C Waites   on behalf of Debtor Leon Davis Christian@mossattorneys.com
              US Trustee’s Office    USTPRegion04.CO.ECF@usdoj.gov
              US Bankruptcy Court   mark_tyan@scb.uscourts.gov, Lisa_Huppertz@scb.uscourts.gov
                                                                                            TOTAL: 4
